









Petition for Writ of Mandamus Denied and Opinion filed April 17, 2003









Petition for Writ of Mandamus Denied and Opinion filed
April 17, 2003.

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In The

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Fourteenth Court of Appeals

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NO. 14-03-00421-CV

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IN RE RICHARD ALLEN MOSBY, Relator

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ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

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M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On April 14, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

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PER CURIAM

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&nbsp;

Petition Denied
and Opinion filed April 17, 2003.

Panel consists of
Justices Anderson, Seymore, and Guzman.

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